Case 2:04-cr-20479-.]DB Document 26 Filed 07/01/05 Page 1 of 2 Page|D 24

|N THE UN|TED STATES D|STR|CT COURT nw By__, ______D_G
FOFl THE WESTERN D|STRICT OF TENNESSEE
WESTEFlN D|VIS|ON 05_][][_ -l AH 7;56

 

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UN|TED STATES OF A|ViEFliCA, CLERK U,S_ DiSTHECTOOUT

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P|aintift,
VS.
CH. NO. 04-20479-B
KEV|N RUDD,
Defendant.

 

OF{DEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Nlondav. Auqust 29. 2005. at 9:30 a.m., in Courtroom 1. 11th F|oor of the
Federal Bui|ding, |Vlemphis, TN.

The period from July 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ot justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

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lTls so oFtDEFtEDthiS 30 days ,2005.

/,HL\

J. ANl LBREEN \
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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 26 in
case 2:04-CR-20479 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

